                   Case 1:25-cv-00429-TSC              Document 28        Filed 02/18/25         Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                     District
                                               __________     of Columbia
                                                           District of __________


                 State of New Mexico. et al.                   )
                             Plaintiff                         )
                                v.                             )      Case No.      1:25-cv-00429
         Elon Musk. in his official capacity. et al.           )
                            Defendant                          )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          State of California                                                                                          .


Date:          0211812025                                                              Isl Nicholas R. Green
                                                                                          Attorney’s signature


                                                                                  Nicholas R. Green, SBN 323959
                                                                                      Printed name and bar number
                                                                                  California Department of Justice
                                                                                 455 Golden Gate Ave., Suite 11000
                                                                                     San Francisco, CA 94102

                                                                                                Address

                                                                                     nicholas.green@doj.ca.gov
                                                                                            E-mail address

                                                                                           (415) 510-3597
                                                                                           Telephone number

                                                                                           (415) 703-5843
                                                                                             FAX number
